Case 2:05-cr-00107     Document 386   Filed 01/29/07   Page 1 of 8 PageID #: 2276



                        UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF WEST VIRGINIA
                                AT CHARLESTON


UNITED STATES OF AMERICA

v.                                    CRIMINAL ACTION NOS. 2:05-00107-01
                                                           2:05-00107-02

GEORGE LECCO and
VALERIE FRIEND


                        MEMORANDUM OPINION AND ORDER


           Pending is the defendants’ joint motion in limine to

preclude any reference to Carla Collins as a confidential

informant, a federal cooperating source, a cooperating witness or

any other reference to her acting under federal authority (“joint

motion in limine”), filed September 18, 2006.



                                       I.



           On August 16, 2006, the government filed a thirteen-

count, third superseding indictment accusing one or both of the

defendants of (1) controlled substance offenses (21 U.S.C. §§ 846

and 841(a)(1))(Counts One, Seven, Eight, Nine and Ten), (2) use

of a firearm during and in relation to drug trafficking (18

U.S.C. § 924(c)(1)(A))(Counts Two, Three, Four), (3) being a

felon in possession of a firearm (18 U.S.C. §§ 922(g)(1) and
Case 2:05-cr-00107   Document 386   Filed 01/29/07   Page 2 of 8 PageID #: 2277



924(a)(2))(Counts Five and Six), (4) murder with a firearm during

and in relation to a cocaine conspiracy (18 U.S.C. §§

924(c)(1)(A) and 924(j)(1))(Count Eleven), (5) killing a person

for aiding a federal investigation (18 U.S.C. § 1121(a)(2))(Count

Twelve), and (6) conspiracy to destroy and conceal evidence (18

U.S.C. § 1512(k))(Count Thirteen).         The government attached

special findings pursuant to 18 U.S.C. §§ 3591 and 3592.               On

August 16, 2006, the United States Attorney filed his notices of

intent to seek the death penalty as to both defendants.1


           Carla Collins plays a central role in the events

leading to the pending charges.       Count Eleven alleges that, in

the course of knowingly using and carrying a firearm during and

in relation to a drug trafficking crime, defendants “caused the

death of Carla Collins through the use of a firearm . . . .”

(Third Supersed. Indict. at 12).         Count Twelve alleges that

defendants “kill[ed] and cause[d] the killing of Carla Collins, a

person assisting a Federal criminal investigation . . . while

that assistance was being rendered and because of it . . . .”

(Id. at 13).


     1
      The court notes in its memorandum opinion entered today
regarding severance that reference was mistakenly made to the
second superseding indictment and the earlier notices of intent
to seek the death penalty filed May 15, 2006. The references do
not affect the court’s analysis of the issues there presented but
they are nevertheless corrected to reflect the present charging
instrument and related notices.

                                     2
Case 2:05-cr-00107   Document 386   Filed 01/29/07   Page 3 of 8 PageID #: 2278



           Defendants now jointly move to preclude any reference

to Collins as either a confidential informant, a federal

cooperating source, a cooperating witness, or any other reference

to her as acting under federal authority.            In support, defendants

contend, inter alia, as follows: (1) the government has produced

only two forms relating to Collins’ service in the investigation,

namely, (a) a Federal Drug Task Force Cooperating Individual

Agreement (“Agreement”) signed by Collins and Trooper A.S. Perdue

and (b) a voucher for payment of $100 in expenses incurred by

Collins during her service to law enforcement; (2) an

investigating officer with the Huntington Federal Drug Task Force

(“Task Force”) has stated under oath that a “federal cooperating

source” is someone “we sign . . . up federally” using a

particular federal form, after which the person is assigned a

confidential informant number; (3) these actions by law

enforcement were insufficient to confer federal status on Collins

according to the Federal Bureau of Investigation’s (“FBI”) Manual

of Investigative Operations and Guidelines (“MIOG”) and the

Attorney General’s Guidelines Regarding the Use of Confidential

Informants (“Guidelines”); (4) it would be misleading and

inappropriate to allow the government to refer to Collins as a

federal confidential informant or some other cooperating federal

agent; (5) it had been reported to law enforcement that Collins


                                     3
Case 2:05-cr-00107   Document 386   Filed 01/29/07   Page 4 of 8 PageID #: 2279



stole money from Katrina Browning and the theft was not reported

as required by the MIOG, indicating Collins was not treated as

being covered by the MIOG; (6) a second investigating officer has

testified that law enforcement ceased utilizing Collins sometime

prior to her death because she was performing investigative work

without proper supervision and authority.


           The government responds, inter alia, as follows: (1)

the Agreement with Collins required her to furnish information to

the Task Force in an ongoing federal investigation; (2) Collins

never signed an agreement with the FBI; (3) Collins provided

information as late as April 3, 2005, concerning Lecco’s illegal

transactions; (4) the identified Task Force member erroneously

referred to Collins as a “federal cooperating source[;]” (5) the

Guidelines expressly preclude third parties from relying upon

them as creating any independent rights; (6) it was not mandatory

to apply the Guidelines to Collins; (7) compliance with the

Guidelines is thus irrelevant; (8) United States v. Jackson, 327

F.3d 273 (4th Cir. 2003), and other authorities provide that

internal, Department of Justice protocols vest no rights in

criminal defendants.


           The defendants assert in reply, inter alia, as follows:

(1) the MIOG and the Guidelines set policy for the use of

                                     4
Case 2:05-cr-00107   Document 386   Filed 01/29/07   Page 5 of 8 PageID #: 2280



confidential informants; (2) the MIOG’s and Guidelines’ criteria

were not followed as to Collins; (3) the MIOG makes the

Guidelines applicable to Collins; (4) the third-party language

identified by the government has no application here and is

intended solely to preclude civil actions against the government

for violations of its own internal protocols; and (5) the policy

under consideration in Jackson was discretionary unlike the

Guidelines and the MIOG.      The court has likewise considered the

parties’ additional arguments made in their supplemental

briefing.


            Within the MIOG at section 137-13 entitled “ATTORNEY

GENERAL’S GUIDELINES ON THE USE OF INFORMANTS” appears the

following admonition:

          These guidelines on the use of informants and
     Confidential Sources are set forth solely for the
     purpose of internal FBI guidance. They are not
     intended to, do not, and may not be relied upon to
     create any rights, substantive or procedural,
     enforceable at law by any party in any matter, civil or
     criminal, nor do they place any limitations on
     otherwise lawful investigative and litigative
     prerogatives of the FBI.

(MIOG § 137-13).     The Guidelines contain the similar language set

forth below:

     Nothing in these Guidelines is intended to create or
     does create an enforceable legal right or private right
     of action by a CI or any other person.

(Guidelines § I.H).


                                     5
Case 2:05-cr-00107   Document 386   Filed 01/29/07   Page 6 of 8 PageID #: 2281



                                    II.



           In United States v. Caceres, 440 U.S. 741, 755-56

(1979), the Supreme Court observed as follows:

     Regulations governing the conduct of criminal
     investigations are generally considered desirable, and
     may well provide more valuable protection to the public
     at large than the deterrence flowing from the
     occasional exclusion of items of evidence in criminal
     trials. . . . [W]e cannot ignore the possibility that a
     rigid application of an exclusionary rule to every
     regulatory violation could have a serious deterrent
     impact on the formulation of additional standards to
     govern prosecutorial and police procedures. . . . In
     the long run, it is far better to have rules like those
     contained in the IRS Manual, and to tolerate occasional
     erroneous administration of the kind displayed by this
     record, than either to have no rules except those
     mandated by statute, or to have them framed in a mere
     precatory form.

Id. at 755-56.


           The observation in Caceres has led either directly or

indirectly to the suggestion by numerous courts of appeal,

including our own, that internal agency guidelines offer no

assistance to an accused complaining of their violation in the

investigation or prosecution of his or her case.            See, e.g.,

Jackson, 327 F.3d at 295 (“That the Department of Justice has

developed an internal protocol for exercising discretion and

channeling prosecutorial resources does not provide license for

courts to police compliance with that protocol, and it is well

                                     6
Case 2:05-cr-00107   Document 386   Filed 01/29/07   Page 7 of 8 PageID #: 2282



established that the Petite policy and other internal

prosecutorial protocols do not vest defendants with any personal

rights.”); United States v. Craveiro, 907 F.2d 260, 264 (1st Cir.

1990) (stating “[T]he internal guidelines of a federal agency,

that are not mandated by statute or the constitution, do not

confer substantive rights on any party.”); United States v.

Piervinanzi, 23 F.3d 670, 682 (2nd Cir. 1994);            United States v.

Wilson, 413 F.3d 382, 389 (3rd Cir. 2005); United States v.

Myers, 123 F.3d 350, 356 (6th Cir. 1997); In re Klein, 776 F.2d

628, 635 (7th Cir. 1985); United States v. Fernandez, 231 F.3d

1240, 1246 (9th Cir. 2000); United States v. Blackley, 167 F.3d

543, 548-49 (D.C. Cir. 1999).


           In addition to this authority, one commentator has

observed as follows regarding the internal guidelines authored by

the Department of Justice:

     Prosecutors . . . do not always adhere to these
     guidelines. The accused has no judicial recourse when
     prosecutors fail to abide by these guidelines, as
     courts routinely find these guidelines strictly
     internal and unenforceable at law. Thus, when it comes
     to DOJ guidelines, a failure to follow office procedure
     is an error that cannot be used by the accused who
     might suffer as a result of this violation.

Ellen S. Podgor, Department of Justice Guidelines: Balancing

"Discretionary Justice" 13 Cornell J. L. & Pub. Pol'y 167, 169

(2004) (emphasis supplied); see also 1 Wayne R. LaFave et al.

                                     7
Case 2:05-cr-00107   Document 386   Filed 01/29/07   Page 8 of 8 PageID #: 2283



Criminal Procedure § 1.6 (2d ed. 2006) (“In general . . . the

message to the federal courts [after Caceres] is that the basic

judicial remedy, upon learning of a deviation from the agency's

regulations, is to call it to the attention of that unit of the

agency responsible for applying internal discipline.”)


           In view of the rather one-sided state of the law,

defendants’ request is not well taken.          The court, accordingly,

ORDERS that the joint motion in limine be, and it hereby is,

denied.


           The Clerk is directed to forward copies of this written

opinion and order to the defendants, all counsel of record, the

United States Probation Department, and the United States

Marshal.

                                         DATED: January 29, 2007


                                         John T. Copenhaver, Jr.
                                         United States District Judge




                                     8
